   Case: 1:19-cv-01306 Document #: 98 Filed: 11/25/19 Page 1 of 3 PageID #:2855




               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

   CHARLENE FIGUEROA and                          )
   JERMAINE BURTON, individually and              )
   on behalf of all others similarly situated,    )
                                                  )
                          Plaintiffs,             )         No. 19-cv-01306
                                                  )
                  v.                              )         Hon. Gary S. Feinerman
                                                  )
   KRONOS INCORPORATED, a                         )
   Delaware corporation,                          )
                                                  )
                     Defendant.                   )
   ________________________________               )
   QUATISHA MARSHALL and ART          )
   ARCANGELO, individually and on     )
   behalf of similarly situated individuals,
                                      )
                                      )                     No. 19-cv-01511
                       Plaintiffs,    )
                                      )
                 v.                   )                     Hon. Gary S. Feinerman
                                      )
   KRONOS INCORPORATED, a             )
   Massachusetts corporation,         )
                                      )
                       Defendant.     )
   __________________________________ )


       MARSHALL PLAINTIFFS’ NOTICE OF WITHDRAWAL OF SUR-REPLY

       Plaintiffs Quatisha Marshall and Art Arcangelo, through their undersigned counsel, hereby

withdraw the Marshall Plaintiffs’ Sur-Reply in Support of Motion to Transfer, Consolidate, and

Appoint Interim Counsel (Dkt. 87), and all exhibits attached thereto (Dkts. 87-1 to 87-10).

Dated: November 25, 2019                         Respectfully submitted,
                                                 QUATISHA MARSHALL and ART
                                                 ARCANGELO, individually and on behalf of
                                                 classes of similarly situated individuals
                                                 By: /s/ Myles McGuire
                                                     One of Marshall Plaintiffs’ Attorneys
   Case: 1:19-cv-01306 Document #: 98 Filed: 11/25/19 Page 2 of 3 PageID #:2855




Myles McGuire
Evan M. Meyers
David L. Gerbie
Jad Sheikali
MCGUIRE LAW, P.C.
55 W. Wacker Drive, 9th Floor
Chicago, IL 60601
Tel: (312) 893-7002
mmcguire@mcgpc.com
emeyers@mcgpc.com
dgerbie@mcgpc.com
jsheikali@mcgpc.com
Attorneys for Marshall Plaintiffs




                                       -2-
   Case: 1:19-cv-01306 Document #: 98 Filed: 11/25/19 Page 3 of 3 PageID #:2855




                                  CERTIFICATE OF SERVICE

          I hereby certify that, on November 25, 2019, I caused the foregoing Marshall Plaintiffs’

Notice of Withdrawal of Sur-Reply to be electronically filed with the Clerk of the Court using the

CM/ECF system. A copy of said document will be electronically transmitted to all counsel of

record.


                                                      /s/ Jad Sheikali




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